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 6 Azzam Dabboussi

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 8
                              UNITED STATES DISTRICT COURT

 9
           CENTRAL DISTRICT OF CALIFORNIA — WESTERN DIVISION

10

11
     AZZAM DABBOUSSI                             Case No.: 2:21-cv-01906-PA-JC

12
                 Plaintiff,
                                                 PLAINTIFF’S NOTICE OF
13
           vs.                                   VOLUNTARY DISMISSAL OF
                                                 DEFENDANT BANK OF
14
     BANK OF AMERICA, N.A.                       AMERICA, N.A. PURSUANT TO
                                                 FEDERAL RULE OF CIVIL
15
                 Defendant                       PROCEDURE 41(A)(1)

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17

18 PLEASE TAKE NOTICE that Plaintiff Azzam Dabboussi, pursuant to Federal

19 Rule of Civil Procedure 41(a)(1), hereby voluntarily dismisses Bank of America,

20 N.A. as to all claims in this action, with prejudice.

21         Federal Rule of Civil Procedure 41(a)(1) provides, in relevant part:

22         41(a) Voluntary Dismissal

23         (1) By the Plaintiff

24               (a) Without a Court Order. Subject to Rules 23(3), 23.1(c), 23.2, and

25                   66 and any applicable federal statute, the plaintiff may dismiss an

26                   action without a court order by filing:

27                      (1) a notice of dismissal before the opposing party serves either

28                            an answer or a motion for summary judgment.

                                                1
                    PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL OF DEFENDANT
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 1        Defendant Bank of America, N.A. has neither answered Plaintiff’s Complaint,
 2 nor filed a motion for summary judgment. Accordingly, the matter may be

 3 dismissed against it for all purposes and without an Order of the Court.

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 5 Dated: May 4, 2021               Gale, Angelo, Johnson, & Pruett, P.C.
 6
                                        By:        /s/ Joe Angelo
 7
                                                     Joe Angelo
 8                                      Attorneys for Plaintiff
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                   PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL OF DEFENDANT
